                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:17-cv-02530-CMA-KLM

KAABOOWORKS SERVICES, LLC,

      Plaintiff,
v.

BRIAN PILSL,

      Defendant.

______________________________________________________________________

        ORDER ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


      THIS MATTER comes before the Court on Plaintiff KAABOOWorks Services,

LLC’s (“KAABOO”) Motion for a Preliminary Injunction against Defendant Brian Pilsl

(“Defendant”) (Doc. #79). Having considered the Motion, briefs, and all exhibits included

therein, the Court finds there is good cause for the relief requested and hereby orders

that the Motion for Preliminary Injunction against Defendant be GRANTED.

      The Court ORDERS as follows:

      (a)     Defendant is ordered to deliver KAABOO’s confidential information and trade

secrets, whether in a digital or tangible form, in Defendant’s possession, custody, and/or

control to Craig Bernard of Cyopsis, within seven days, with a signed representation that

Defendant, and his previous attorney, did not alter, destroy, remove, copy, or retain any

document, file or information on each device used by Defendant during his business

relationship with KAABOO;
       (b)    Defendant is ordered to submit all devices used by Defendant during or after

his business relationship with KAABOO that may contain KAABOO’s trade secret information

for a computer forensic examination, to be conducted by Craig Bernard of Cyopsis. This

includes, but is not limited to, Defendant’s laptop computer, removable storage devices,

external hard drives, portable electronic tables, and mobile phones (and any subsequent

mobile phone that was backed-up or synced to any previous mobile phone or that

shares/shared the same phone number used by Defendant while employed by KAABOO or

that was used to access any KAABOO email address or the brianpilsl@gmail.com email

address). After the creation of a forensic mirror image and in cooperation with Defendant,

KAABOO, with the assistance of Mr. Bernard, is permitted to remove any and all proprietary,

confidential, and trade secrets information contained on any such device, as those terms are

defined under the law and in the employee handbook. Mr. Bernard shall take all necessary

steps to protect any personal, confidential, or proprietary information and trade secrets

belonging to Defendant from disclosure to KAABOO;

       (c)    For all electronic devices destroyed or not in Defendant’s possession,

Defendant is ordered to submit a sworn explanation for the method used to dispose of the

device, a list and copies of all electronically stored information retained, saved, or otherwise

transmitted from that device to another, and a list of all individuals and entities that have had

or still have access to the device; and

       (d)    Defendant is ordered not to use, disclose, or misappropriate or in any manner

use KAABOO’s trade secrets and confidential information.
       Pursuant to Fed. R. Civ. P. 65(c), KAABOO shall give security in the amount of

$5,000.00 by depositing those monies into the registry of the Court or by obtaining a validly

issued bond.

       This preliminary injunction shall remain in effect until the conclusion of trial.

       DATED: November 1, 2018

                                             BY THE COURT:


                                             _________________________________
                                             CHRISTINE M. ARGUELLO
                                             United States District Judge
